261 F.2d 835
    ELLIOTT TRUCK PARTS, INC., Appellant,v.UNITED STATES of America, Appellee.UNITED STATES of America, Appellant,v.ELLIOTT TRUCK PARTS, INC., Appellee.
    Nos. 13425, 13426.
    United States Court of Appeals Sixth Circuit.
    Dec. 11, 1958.
    
      Charles A. Bryan, Detroit, Mich., for Elliott Truck Parts, Inc.
      Paul A. Sweeney, Howard E. Shapiro, Washington, D.C., Fred W. Kaess, U.S. Atty., Detroit, Mich., for the United States.
      Before ALLEN, Chief Judge, and MARTIN and MILLER, Circuit Judges.
      PER CURIAM.
    
    
      1
      This cause came on to be heard upon the appeal of Elliott Truck Parts, Inc., and upon the cross-appeal of the United States of America;
    
    
      2
      And having been duly considered upon the oral arguments and briefs of attorneys and upon the record in the cause, this court is of opinion that the judgment of the district court awarding plaintiff the total amount of $38,381.43 (being a modification of plaintiff's claim mitigating damages) should be affirmed upon the basis of the opinion of United States District Judge Picard, D.C., 149 F.Supp. 52, consisting of his findings of fact and conclusions of law, dealing in detail with the issues involved.
    
    
      3
      Affirmed.
    
    